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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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PHILLIP LEWIS,

                                  Plaintiff,

                 vs                                  1:04-CV-152

CITY OF ALBANY POLICE DEPARTMENT and
WILLIAM BONANNI,

                         Defendants.
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APPEARANCES:                                        OF COUNSEL:

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DAVID N. HURD
United States District Judge

                         MEMORANDUM-DECISION and ORDER

I. INTRODUCTION

         On May 7, 2009, the United State Court of Appeals for the Second Circuit entered

a summary order affirming the judgments filed in plaintiff's favor on May 20, 2008, and on
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July 31, 2009, it denied defendants' joint petition for rehearing en banc. The Mandate was

issued on July 22, 2009, and was filed in the Northern District of New York on July 29, 2009.

          Plaintiff Phillip Lewis ("Lewis" or "plaintiff") timely filed an application for attorney's

fees and costs pertaining to the appeal pursuant to 42 U.S.C. § 1988, 28 U.S.C. § 1920, and

Fed. R. Civ. P. 54(d). The City of Albany expressly declined to oppose the application for

attorney's fees and costs. Defendant Bonanni did not respond. The application was taken

on submission without oral argument.

II. DISCUSSION

          Costs other than attorney's fees "should be allowed to the prevailing party." Fed.

R. Civ. P. 54(d). Pursuant to 42 U.S.C. § 1988, attorney's fees may be awarded to a

prevailing party in, inter alia, civil rights litigation as part of the costs imposed. A prevailing

plaintiff in civil rights litigation is entitled to an award of attorney's fees and costs incurred in

defending a judgment in his favor on appeal. Murphy v. Lynn, 118 F.3d 938, 952-53 (2d Cir.

1997).

          In this case, plaintiff successfully defended the judgment in its favor before the

United States Court of Appeals for the Second Circuit. Additionally, defendants' petition for a

rehearing en banc of the decision against them was denied by the appeals court. Neither

defendant opposes plaintiff's application.

III. CONCLUSION

          Upon careful review of plaintiff's submissions in support of his application, it is

determined that plaintiff is entitled to attorney's fees and costs in the total amount of

$17,111.60 ($16,668.00 attorney's fees; $423.60 costs).

          Accordingly, it is

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         ORDERED that

         1. Plaintiff is awarded attorney's fees and costs in the total amount of $17,111.60;

         2. Defendants City of Albany Police Department and William Bonanni are jointly

and severally liable for $17,111.60 in attorney's fees and costs; and

         3. The Clerk of the Court is directed to enter supplemental judgments in favor of

plaintiff Phillip Lewis and in the amount of $17,111.60 against defendants City of Albany

Police Department and William Bonanni.

         IT IS SO ORDERED.




Dated: July 29, 2009
       Utica, New York.




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